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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA


 LIGTEL COMMUNICATIONS, INC.,

                         Plaintiff,

                   v.
                                                Case No. 1:20-cv-00037-HAB-SLC
 BAICELLS TECHNOLOGIES INC.;
                                                DECLARATION OF
 BAICELLS TECHNOLOGIES NORTH AMERICA
                                                RANDY MEAD
 INC.,

                         Defendants.
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 I, Randy Mead, declare the following:

         1.     I am CEO and General Manager for LigTel Communications, Inc.

         2.     LigTel was founded as a subsidiary of Ligonier Telephone Company in April 1998

 and is a family-owned company that proudly serves approximately 1,500 wireless service

 customers across seven counties in northeastern Indiana.

    I.        HNI Code

         3.     I understand that every mobile telephone in the United States has a unique fifteen-

 digit number, called an International Mobile Subscriber Identity (“IMSI”). From my work, I know

 that the first six digits of the IMSI is known as an HNI code or PLMN. This number identifies the

 carrier. The remaining nine digits identify that particular phone.

         4.     It is my understanding that HNI codes are always six digits in the United States. In

 fact, I have never heard of a five-digit HNI code in the United States. Other countries do use five-

 digits, but the United States does not. All HNI codes registered and assigned are on the IMSI

 administrator’s website. Exhibit 1 is a true and correct copy of the iconectiv IMSI FAQ webpage,

 https://imsiadmin.com/faq, accessed on April 1, 2020.

         5.     Based on my experience, I am aware that HNI codes are assigned by the IMSI

 Oversight Council, an open industry committee of the Alliance for Telecommunications Industry

 Solutions (ATIS), which is in turn an organization that develops technical and operational

 standards and solutions for the telecommunications industry. Exhibit 2 is a true and correct copy

 of the IMSI Assignment and Management Guidelines and Procedures (“IMSI Guidelines”) (Aug.

 2018), found on ATIS’s public website https://www.atis.org/01_committ_forums/ioc/docs/IMSI-

 Guidelines-v15.1.1.pdf; sections 6 and 7 address the responsibilities of HNI assignees. It is my

 understanding that ATIS prescribes a process for applying for and maintaining a HNI code, which




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 include an application fee, annual fees, efficiently managing the HNI, participating in IMSI audits,

 and deploying the HNI within the time specified.

          6.      In November 2011, LigTel applied for an HNI Code and was assigned code 311980

 by ATIS through iconectiv, the United States IMSI administrator. Exhibit 3 is a true and correct

 copy of the letter from Telcordia d/b/a iconectiv confirming LigTel’s HNI code assignment. In

 accordance with applicable rules, LigTel timely deployed that code, has been using that code, and

 has annually paid the applicable maintenance fee for that code. Exhibit 4 is a true and correct copy

 of LigTel’s proof of payment for the annual maintenance HNI code fees for 2018 and 2019.

    II.        Trade Secrets and Proprietary Information

          7.      I know that LigTel takes a variety of measures to protect its trade secrets and

 proprietary information.     For instance, LigTel requires all employees to sign confidentially

 agreements and to be trained on cybersecurity policies. Exhibits 5 and 6 are true and correct copies

 of LigTel’s cybersecurity policies, and Exhibit 7 is a true and correct copy of several

 confidentiality agreements signed by LigTel employees. In addition, LigTel has entered into non-

 disclosure agreements with companies with whom it shares any propriety and sensitive trade

 secrets, including Huawei. Exhibits 8 and 11 are redacted true and correct copies of non-disclosure

 agreements between Huawei and LigTel. The attached exhibits are examples of the measures that

 LigTel takes to protect its trade secrets and proprietary information and are not an exclusive list of

 the measure taken.

          8.      As part of its commitment to investing in cutting-edge infrastructure for its wireless

 service customers, in 2012 LigTel upgraded to an LTE network and engaged Huawei to do so. At

 that time, LigTel was the first and only company in North America to deploy a LTE core

 manufactured by Huawei to establish its network. LigTel worked closely with Huawei to design




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 and build the network—including sharing with Huawei LigTel’s proprietary and sensitive

 information about the engineering, architecture, configurations, IP infrastructure, and technology

 employed in LigTel’s network.

           9.      In order for Huawei build LigTel’s LTE core, LigTel would need to share its radio

 frequency configurations, IP infrastructure (both physical and logical), its network engineering

 and architecture, the technologies LigTel employed to connect its networks, and LigTel’s

 encryption code with Huawei. Accordingly, LigTel entered non-disclosure agreements with

 Huawei, which are attached as Exhibits 8 and 11.

    III.         3GPP Standards and Roaming

           10.     From my work in this industry, I know that 3rd Generation Partnership Project

 (“3GPP”) is the international governing body responsible for mobile network standards. Exhibit

 9 is a true and correct copy of a February 23, 2020 email regarding the 3GPP, attaching the 3GPP

 standards. 3GPP is a partner to ATIS. Through my work, I came to understand that the 3GPP

 specification defines how roaming authentication is supposed to take place between home and

 visitor networks. Roaming authentication works because the “visited” network uses the device’s

 HNI code to identify the device’s carrier. It is therefore important for that authentication process

 that each entity use its own HNI code.

           11.     Baicells claims to be 3GPP compliant in their documentation and on their website,

 however, their use of an HNI code that appears to the world to be LigTel’s HNI code is not

 following these 3GPP standards. Exhibit 10 is a true and correct copy of a printout from Baicells’s

 website on April 1, 2020, identifying Baicells as 3GPP compliant.




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    IV.         Interference and Investigation

          12.      In June 2019, Josh Wentworth, LigTel’s Network Operations Supervisor, informed

 me that Sandhills Wireless in Nebraska was using an HNI code that appears to the world to be

 LigTel’s HNI code. He also informed me that Sandhills had obtained that equipment from a

 company called Baicells, and that another Indiana company, New Lisbon Broadband and

 Communications, also used Baicells equipment. I spoke with John Greene at New Lisbon

 Broadband and Communications, an Indiana company, and informed him that the HNI code they

 were using was not a valid code, that it appeared to be LigTel’s HNI code, and that Baicells was

 not authorized to use LigTel’s HNI code. He confirmed that the IMSI started with “311980.” New

 Lisbon also confirmed that Baicells had directed it to 31198 and that it did not know Baicells

 lacked authorization to use that code.

          13.      We informed New Lisbon that we had reached an agreement with Sandhills

 authorizing them to use our code temporarily. Greene let me know he thought there are probably

 ten to twelve other wireless internet service providers in Indiana that use Baicells’s equipment.

 We ultimately chose not to send New Lisbon a “cease and desist” letter because we were trying to

 work in good faith with a fellow Indiana company.

          14.      LigTel has approximately 1,500 wireless service customers in northeastern Indiana.

 Based on my knowledge of the market and industry, I believe that more than 50,000 individuals

 are served by providers who use Baicells’s equipment. Based on Baicells’s public website, other

 publications, and my understanding of how Baicells conducts its business, I believe that all of

 those consumers using Baicells’s equipment are using HNI code 31198, which appears to the world




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 as 311980. It is also my understanding, from reviewing public websites, that the founders of

 Baicells went from working at Huawei to founding Baicells.

    V.         First Meeting With Baicells

         15.      On or around July 12, 2019, Wentworth contacted Baicells; Baicells wanted to meet

 and discuss the matter and, on July 29, 2019, Baicells traveled to our LigTel offices in Ligonier,

 Indiana. The meeting was attended by three Baicells representatives: Rick Harnish, Baicells

 Director of WISP Markets in North America; Bo Wei, North American President of Baicells; and

 Ronald Mao, the Baicells technical advisor who worked on LigTel’s core when he was formerly

 employed at Huawei. Josh Wentworth, Mike Troup, and I attended the meeting, along with

 counsel for LigTel.

         16.      Mao previously worked at Huawei and specifically on technical projects related to

 LigTel’s LTE core. In fact, Mao had been one of the Huawei employees who worked on

 maintaining and expanding LigTel’s equipment after the initial installation. Mao had access to all

 of the confidential trade secrets that LigTel shared with Huawei and was subject to the non-

 disclosure agreements.

         17.      At the meeting, Baicells acknowledged that it was using and directing its customers

 to use 31198 as an HNI code, which appeared to the world to be LigTel’s. Baicells did not attempt

 to explain, much less justify, that action and suggested that it intended to continue using 31198 in

 perpetuity.

         18.      We asked Baicells to stop using an HNI code that appeared to the world to be our

 code and to migrate its customers to Baicells’s own HNI code. Baicells appeared unwilling to do

 so—going so far as to claim that changing HNI codes would be logistically impossible. Migrating

 LigTel’s customers to a new HNI code would require LigTel to change the SIM card of every




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 single one of its customers. That would require LigTel employees to go to every LigTel customer

 location, likely after business hours, and to offer a discount to existing customers to compensate

 for the inconvenience.    The cost to migrate its customers to a new HNI code would be

 approximately $400,000, though could be even higher.

        19.     Because Baicells refused to agree to stop using an HNI code that appears to the

 world to be LigTel’s HNI code, I offered to transfer LigTel’s HNI code to Baicells for a fee that

 would cover LigTel’s costs to migrate customers to a new HNI code, other costs LigTel has

 incurred related to Baicells’s actions, and compensate LigTel for the inconvenience. Baicells again

 refused.

        20.     Baicells then offered to acquire LigTel’s HNI code and to grant LigTel a right to

 use that number. Baicells’s offer, however, would not have alleviated the harm to LigTel or

 avoided future risk and confusion because LigTel’s network and any network using Baicells

 equipment would continue to be identified by the same HNI code.

        21.     Wei then asked to speak to me alone, to which I agreed. When we were alone, Wei

 offered that Baicells would pay LigTel $100,000 to obtain LigTel’s HNI code, and then Baicells

 would grant LigTel a secondary use license to use its own HNI code. I again explained to Wei

 that LigTel could not agree to a deal in which both companies used the same HNI code. There are

 a variety of risks including consumer confusion, interference issues, and public safety issues that

 could arise if both entities used the same HNI code.

        22.     Wei then stated that he knew that Huawei had manufactured and configured

 LigTel’s core, though I had never shared that information with Wei or any other Baicells

 employees. Wei then asked me if I knew that Ronald Mao had formerly worked at Huawei. I said




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 yes. Wei then offered to have Mao “get into” our Huawei-manufactured core and reprogram it

 himself, so Mao could do it for free and we would not have to pay Huawei to do so.

          23.      I understood Wei’s offer to mean that Baicells had the ability to access LigTel’s

 network and reprogram LigTel’s core—therefore showing that Baicells had acquired and had

 access to LigTel’s trade secrets (including LigTel’s encryption code and network architecture).

          24.      Wei also offered to give LigTel discounts on Baicells equipment. I told Wei that I

 did not feel comfortable discussing such a proposal and went back to join the larger meeting.

          25.      Since that meeting, Baicells has not agreed to return LigTel’s trade secrets or to not

 use those secrets.

          26.      I understand that Baicells has now been assigned its own HNI code, 314030, yet

 Baicells has only partly migrated its customers to that code and has not stopped using an HNI code

 that appears to the world to be LigTel’s. While Baicells claims to use its new HNI code on all of

 its new SIM cards for new customers, Baicells’s customers who were already using the LigTel

 HNI code have continued to use that code. Baicells’s workaround, where it broadcasts its HNI

 code to the customers still using SIM cards with LigTel’s HNI code, does not alleviate the

 problems and risks: subscribers of Baicells’s customers would still appear to law enforcement and

 to roaming networks to be using an HNI code that appears to be LigTel’s.

    VI.         ATIS Process

          27.      After the meeting with Baicells, LigTel attempted to resolve the HNI-code issue

 through ATIS, which offers parties a way to attempt to voluntarily resolve disputes related to HNI

 codes without interfering with the parties’ right to pursue relief elsewhere.

          28.      On August 21, 2019, our attorney sent Tom Goode at ATIS a letter regarding

 Baicells’s use of an HNI code that appears to the world to be LigTel’s HNI code. LigTel’s counsel




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 explained that it was requesting formal action from ATIS and/or the IMSI Oversight Council (IOC)

 to resolve the ongoing unauthorized use of Ligtel’s HNI code (311980) by the cloud-based LTE

 core solution provider, Baicells. Exhibit 12 is a true and correct copy of the letter LigTel sent to

 Goode. The letter explained that Baicells’s use of LigTel’s HNI code violated regulations and

 frustrated LigTel’s ability to maintain up-to-date and accurate assignment records as required

 under the IMSI Guidelines. LigTel requested that the IOC direct Baicells to immediately cease

 and desist from using HNI code 311980 or any substantially similar network identification code

 (such as PLMN 31198) within any portion of its operations.

        29.     From August through the present, LigTel and Baicells have been engaged with

 ATIS and the IOC regarding Baicells’s plan to migrate to its assigned HNI code. Baicells

 submitted a migration plan to ATIS, and now submits progress reports regarding that Migration

 plan. It is my understanding from these progress reports that Baicells claims it is in the process of

 migrating to its new HNI code. However, Baicells’s migration plan is not adequate. It is my

 understanding that Baicells is not replacing SIM cards for its existing customers using LigTel’s

 HNI code. Thus, LigTel’s HNI code will continue to be used by persons or entities who are not

 LigTel end users.

        30.     In sum, the ATIS process has proved ineffective. Baicells has refused to propose

 an acceptable or credible resolution to the situation, has failed to provide a binding and detailed

 timeline of when it will cease using an HNI code that appears to be LigTel’s HNI code, and has

 intimated that it may take the position that ATIS lacks authority to order relief. Baicells is still

 behind its timetable. I lack confidence that the ATIS process will adequately resolve the HNI-

 code issues (if at all), and LigTel’s trade secret-related issues are outside the scope of the ATIS

 process.




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         31.     LigTel is unaware of the full scope of Baicells’s use of an HNI code that appears

  to the world to be LigTel’s HNI code—LigTel cannot determine how many subscribers in how

  many jurisdictions appear to be LigTel subscribers based on their HNI code but are not actually

  LigTel subscribers.

         32.     LigTel has received requests from law enforcement for information on LigTel

  subscribers. My understanding is that law enforcement is able to identify a suspect or target’s

  cellular service provider based on the customer’s IMSI number, which, as previously explained,

  has as the first six digits the HNI code used by the subscriber’s equipment. My understanding is

  that law enforcement thus may use the HNI code to determine which company to serve with legally

  authorized process for a search, seizure, or surveillance when necessary.

         33.     I do not believe that Baicells has any good faith intention to stop using LigTel’s

  HNI code or to stop possessing or using LigTel’s trade secrets.




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